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                                   STATEMENT OF FACTS

        Your affiant, Julie Hendrix, is a Special Agent assigned to Washington Field Office of the
Federal Bureau of Investigation. In my duties as a special agent, I am currently tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent, I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Early the following morning, the FBI received a tip identifying Jonah WESTBURY as
someone who participated in the civil unrest that occurred at the U.S. Capitol on January 6, 2021.
The tipster said it recognized WESTBURY because the tipster had attended high school with
him. The tipster said it had observed video proof of WESTBURY inside the U.S. Capitol
building during the civil unrest on January 6, 2021. According to the tipster, the video was
originally posted on TikTok, a social media website. The tipster later observed WESTBURY on
a Snapchat video narrating his incursion into the U.S. Capitol in Washington, D.C., which was
posted on the Twitter account of a friend of Westbury’s. The FBI interviewed the tipster on
January 11, 2021, and thereafter, the tipster emailed a link of the Snapchat video to the FBI
Agent who conducted the interview.

       On or about January 9, 2021, the FBI received another tip on its hotline that named
someone other than WESTBURY as the person who was depicted in a video that had been
posted on the website www.reddit.com. The video showed an individual taking a selfie of
himself inside the U.S. Capitol on January 6, 2021, during the civil unrest. The tip identified the
person taking the selfie as someone other than WESTBURY. However, further investigation
revealed that the person taking the selfie is WESTBURY, not the other individual who was
named. Indeed, the image of WESTBURY that appears on the Reddit website appears to show
him wearing, or in possession of, the same jacket, gray sweatshirt and red hat that he is seen
wearing in the Snapchat videos. The image obtained from the Reddit appears below:




       During the investigation, the FBI obtained a number of additional video clips showing
WESTBURY in the U.S. Capitol. The videos were legally obtained from a Snapchat social
media account belonging to WESTBURY. The two screenshots below were taken from video
recordings obtained from WESTBURY’s Snapchat account, which he apparently recorded and
show WESTBURY in the Capitol.



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A review of the videos the FBI has obtained revealed the following details, among others:
   • A chat media video dated 01-07-2021, 15-38-26UTC, 3,173 KB, of Jonah
       WESTBURY panning in a circle a selfie of himself laughing inside the Capitol and
       at the very end he says, “First time…” The video abruptly ends.



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           •   A video dated 01-06-2021, 19-33-37UTC, 641 KB, shows the door to what appears
               to be a federal building
           •   A video dated 01-06-2021, 19-33-37UTC, 4,988 KB, shows the entryway columns
               and closed doors of what appears to be the U.S. Capitol
           •   A video dated 01-06-2021, 19-40-57UTC, 2,122 KB, shows a selfie video of Jonah
               WESTBURY amidst a crowd that is now entering the U.S. Capitol building and
               WESTBURY says, “We made it.”
           •   A video dated 01-06-2021, 19-40-57UTC, 4,528 KB, shows a selfie video of Jonah
               WESTBURY from inside the U.S. Capitol building. He says, “ We made it. This is
               our house. We got pepper sprayed, got abused…” and the video abruptly ends.
           •   A video dated 01-06-2021, 19-43-07UTC, 5,031 KB shows a selfie video of Jonah
               WESTBURY from inside the U.S. Capitol building panning in a circle. He says,
               “First time in the Capitol. First time in the Capitol… I’m proud of every fucking
               one of you.”


        Based on the foregoing, your affiant submits that there is probable cause to believe that
Jonah WESTBURY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Finally, your affiant submits there is also probable cause to believe that Jonah
WESTBURY violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully
and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.




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                                                    _________________________________
                                                    JULIE HENDRIX
                                                    FBI SPECIAL AGENT



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29th day of March 2021.                                   Zia M. Faruqui
                                                                     2021.03.29
                                                                     22:44:37 -04'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE




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